Case 3:10-mj-70971-E|\/|C Document 6 Filed 11/30/10 Page 1 of 1

AO 94 (Rev. 01/09) Commitment to Another District

UNITED STATES DISTRICT CQHJBE D

for the

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Um“=d States °fAm<=“Ca § ..%z§§r._-,H¢_,-¢:'|J:::»J..€.s::z.i,
v. ;
) CaS€ NO- _3:_19;19_91_L§M§_,_m __ _,,ki*“_
)
>_ Rachel Madison ) Charging District’s
Defendant ) Case No. `73:10CR146

 

COMMITMENT TO ANOTHER DISTRICT

The defendant has been ordered to appear in the _r M* Eastern District of iiTennes_s§e`

The defendant may need an interpreter for this language: No

 

The defendant: x will retain an attorney.

El is requesting court-appointed counsel.
The defendant remains in custody after the initial appearance.

IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the
United States attorney and the clerk of court for that district of the defen 1 - rrival so that further proceedings may
be promptly scheduled. The clerk of this district must promptly tr - , ers and any bail to the charging district.

   
 
 
 

Date: `V m l'$O {LO

 

Judge ’s signature

Edward M. Chen

Printed name and title

 

